            Case
            Case 18-30134-hcd
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION


In re the matter of
                                                 NO. 18-30134-hcd
JAMES LEROY WIRSING, JR.,                         CHAPTER 7

               Debtor.                           JUDGE HARRY C. DEES, JR.


                        ORDER MODIFYING AUTOMATIC STAY


       At South Bend, Indiana on March 29, 2018


      SPECIALIZED LOAN SERVICING LLC, SERVICER FOR CITIGROUP
MORTGAGE        LOAN        TRUST      INC.,     ASSET-BACKED      PASS-THROUGH
CERTIFICATES, SERIES 2007-AMC1, U.S. BANK NATIONAL ASSOCIATION, AS
TRUSTEE, its successors and/or assigns, by counsel, having filed a Motion to Modify
Automatic Stay on the following described real property:

LOT 6 IN BLOCK 6 IN VILLAGE GREEN SUBDIVISION FIRST ADDITION IN THE
CITY OF MICHIGAN CITY, INDIANA AS RECORDED IN PLATE BOOK 11 PAGE
152 IN THE OFFICE OF THE RECORDER OF LAPORTE COUNTY, INDIANA,
with a common address of 3517 Lexington Road, Michigan City, Indiana 46360

and notice of said motion having been provided to parties in interest, and no objections
having been filed with this Court, it is

      ORDERED that SPECIALIZED LOAN SERVICING LLC, SERVICER FOR
CITIGROUP MORTGAGE LOAN TRUST INC., ASSET-BACKED PASS-THROUGH
CERTIFICATES, SERIES 2007-AMC1, U.S. BANK NATIONAL ASSOCIATION, AS
TRUSTEE, its successors and/or assigns, is granted relief from the automatic stay.



                                           ____________________________________
                                           HARRY C. DEES, JR.,
                                           Judge United States Bankruptcy Court
